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 1   WEES LAW FIRM, L.L.C.
     3216 N. Third Street, Suite 201
 2   Phoenix, AZ 85012
     (602) 288-1691
 3   James F. Wees (011136)
     james@weeslawfirm.com
 4   Attorneys for Defendants
 5
                          IN THE UNITED STATES DISTRICT COURT
 6                                DISTRICT OF ARIZONA
 7
 8   Dawn Janczweski, individually; and                  Case No.: CV-21-08067-PCT-SMB
     Dwayne Brott, individually,
 9
                   Plaintiffs,                     NOTICE OF REMOVAL AND MOTION TO
10                                                           CONSOLIDATE
     vs.
11
     Comedy On Deck Tours, INC., a Nevada
12                                                 (Assigned to the Honorable Susan M. Brnovich)
     corporation; Gary Griep and Jane Doe
13   Griep, a married couple; Black Corporations
     I – XX; White Partnerships I-Xx; And Does
14   I -XX;
                    Defendants.
15
16                                                     NEVADA CASE NO: A-21-828545-C
     Eddie Junior Blocker, An Individual;
17   Sandra Jean Mcdougal, an Individual,
18                    Plaintiffs,
19   and

20   Comedy On Deck Tours, Inc., A Nevada
     Corporation; Doe Driver, An Individual;
21
     Roe Bus Owner; An Individual; Does 1
22   Through 40; Roe Corporations 1 Through
     40; Doe Employees 1 Through 40; Doe
23   Negligent Employees 1 Through 40; Doe
24   Negligent Employers 1 Through 40; And
     Roe Negligent Corporations 1 through 40,
25   inclusive,,
                      Defendants.
26
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     1   Naviv Rodriguez, an Individual; Laysuan              NEVADA CASE NO: A-21-836467-C
         Gonzalez, an Individual,
     2
     3                    Plaintiffs,
         and
     4
     5   Comedy On Deck Tours, INC., a Nevada
         corporation; Gary Griep, an individual;
     6   Roe Bus Owner; an Individual; Doe
         Individuals 1 Through 40; Roe
     7
         Corporations 1 Through 40; Doe Installers
     8   1 Through 40; Roe Sellers 1 Through 40;
         Doe Employees 1 Through 40; Roe
     9   Designers 1 Through 40; Roe Bus
    10   Manufacturers 1 Through 40; Roe Bus
         Distributors 1 Through 40; Roe Bus
    11   Component Part Designer 1 Through 40;
         Roe Bus Component Part Manufacturers 1
    12   Through 40; Roe Bus Component Part
    13   Distributors I Through 40; Doe Negligent
         Employers I Through 40; Doe Negligent
    14   Employees 1 Through 40; Roe Negligent
    15   Corporations 1 Through 40;

    16                     Defendants.

    17   Ryan Mikula, individually; and Tammi                MOHAVE COUNTY SUPERIOR COURT
                                                                CASE NO: S8015CV202200079
    18   Wilber Individually,
                                         Plaintiffs,
    19   and
    20   Comedy On Deck Tours, INC., a Nevada
    21   corporation; Gary Griep and Jane Doe
         Griep, husband and wife; John Does I-X;
    22   Jane Does I-X; Black Corporations I-X;
    23   and White Partnerships I-X;

    24                     Defendants.
    25
    26


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     1           Defendants, Gary Griep and Comedy On Deck Tours, INC, hereby request to consolidate
     2   these cases, in which Dawn Janczweski, Dwayne Brott, Eddie Junior Blocker, Sandra Mcdougal,
     3
         Naiviv Rodriguez, Laysuan Gonzalez, Ryan Mikula and Tammi Wilber are Plaintiffs and Comedy
     4
         On Deck Tours, INC. and Gary Griep are Defendants. This motion is supported by the following
     5
         Memorandum of Points and Authorities.
     6
     7                       MEMORANDUM OF POINTS AND AUTHORITIES

     8   I.      INTRODUCTION AND BACKGROUND

     9           Janczweski v. Comedy on Deck Tours, Inc., et al, Blocker v. Comedy on Deck Tours, Inc.,
    10   et al and Rodriguez v. Comedy on Deck Tours, Inc. Mikula v. Comedy on Deck Tours, Inc., arises
    11
         from a single vehicle traffic accident involving Plaintiffs as passengers on Defendant Comedy on
    12
         Deck Tours, Inc.’s bus. The accident, allegedly caused by Comedy on Deck, Inc., occurred on
    13
         January 22, 2021 in Mohave County, Arizona.
    14
    15           Janczweski v. Comedy on Deck Tours, Inc., et al, is a claim for alleged damages resulting

    16   from personal injury of Ms. Jawnczweski and Mr. Brott alleged to be sustained in the accident on

    17   January 22, 2021.
    18           Blocker v. Comedy on Deck Tours, Inc., et al, is a case filed in the District Court of Clark
    19
         County Nevada that arises out of the same accident on January 22, 2021 in Mohave County, AZ.
    20
         This is a claim for the personal injuries sustained by Mr. Blocker and Ms. McDougal in the subject
    21
         accident.
    22
    23           Rodriguez v. Comedy on Deck Tours, Inc., et al, is a case filed in the District Court of Clark

    24   County Nevada that arises out of the same accident on January 22, 2021 in Mohave County, AZ.
    25   This is a claim for the personal injuries sustained by Mr. Rodriguez and Ms. Gonzalez in the
    26
         subject accident.

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     1            Mikula v. Comedy on Deck Tours, Inc., et al, is a claim for alleged damages resulting from
     2   personal injury of Mr. Mikula and Ms. Wilber alleged to be sustained in the accident on January
     3
         22, 2021.
     4
     5
         II.      ARGUMENT
     6
     7            When actions present common questions of law of fact, the Court may, in the interests of

     8   convenience and judicial economy, consolidate the actions. See Federal Rule of Civil Procedure

     9   42(a). Here, in these cases, Plaintiffs’ injuries and damages arise out of the same incident and
    10   present common questions of law of fact.
    11
                  These cases all arise from the same operative nucleus of facts: The Defendant’s alleged
    12
         failure to control his vehicle causing a rollover accident. The law governing and remedies for those
    13
         tortious harms will likewise be identical.
    14
    15            Additionally, there is no question that consolidation will ease the burden and expense of

    16   litigation for the parties. Fact and expert discovery, including extensive deposition discovery, will

    17   be required to address the validity issues common to both cases. There is no legitimate reason to
    18   force the parties to double these efforts by simultaneously proceeding on multiple discovery tracks.
    19
         Judicial economy and convenience strongly weigh in favor of consolidation.
    20
                  Pursuant to 28 U.S.C. 1441(b), the Defendant may remove to the District Court of the
    21
         United States, for the district and division embracing the place where such action is pending, any
    22
    23   civil action brought in a state court of which the district courts of the United States have Original

    24   Jurisdiction via diversity of citizenship as defined in 28 U.S.C. 1332.
    25
    26


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            Case 3:22-cv-08072-MHB Document 1 Filed 04/25/22 Page 5 of 8




     1          By virtue of 28 U.S.C. 1332(a)(1) this action is eligible for removal as the Plaintiffs are
     2   self-professed residents of Wisconsin, the Defendants are a Nevada corporation or Nevada resident
     3
         and the amount in controversy as alleged by the Plaintiffs’ exceeds $75,000.
     4
                By virtue of the foregoing, the Defendants Comedy On Deck Tours, Inc. and Gary Griep
     5
         hereby removes this action to the United States District Court for the District of Arizona.
     6
     7          III.    CONCLUSION

     8          For the foregoing reasons, Defendants Griep and Comedy on Deck Tours, Inc. in both CV-

     9   21-08067-PCT-SMB and NEVADA DISTRICT COURT OF CLARK COUNTY CASES NOs:
    10   A-21-828545-C and A-21-836467-C and SUPERIOR COURT OF ARIZONA IN AND FOR THE
    11
         COUNTY OF MOHAVE CASE NO: S8015CV202200079, respectfully request the Court order
    12
         consolidation of CV-21-08067-PCT-SMB, NEVADA DISTRICT COURT OF CLARK
    13
         COUNTY CASES NO: A-21-828545-C and A-21-836467-C, and SUPERIOR COURT OF
    14
    15   ARIZONA IN AND FOR THE COUNTY OF MOHAVE CASE NO: S8015CV202200079 for all

    16   further proceedings.

    17          Finally, these cases are being defended under insurance policies. While the limits are
    18   believed to be sufficient to pay any and all settlements/judgments, there is always the possibility
    19
         of a “run away verdict” and that would expose the cases going to trial later than the cases going to
    20
         trial earlier to losing the “race to the courthouse.” There is no basis to prefer one claimant to any
    21
         others, and that further militates in favor of one trial for all claims which arise from this single
    22
    23   accident.

    24          WHEREFORE, these Defendants respectfully request that all these claims be consolidated
    25   with the Janczweski v. Comedy on Deck Tours, Inc., et al, Action No. CV-21-08067-PCT-SMB.
    26


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         Case 3:22-cv-08072-MHB Document 1 Filed 04/25/22 Page 6 of 8




     1
     2      DATED THIS 25th DAY OF APRIL 2022.
     3
     4
                                          WEES LAW FIRM, LLC
     5
     6                             By: /s/ James F. Wees
     7                             James F. Wees
                                   3216 N. Third St., Suite 201
     8                             Phoenix, Arizona 85012
                                   Attorney for Defendants
     9
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    11
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     1                                    CERTIFICATE OF SERVICE
     2          I hereby certify that on April 25th, 2022, I electronically transmitted the attached
     3
         document to the Clerk’s Office using the ECF System for filing, thereby transmitting a Notice of
     4
         Electronic Filing to all ECF registrants.
     5
     6
     7   COPY of the foregoing e-mailed
         this 25th day of April, 2022, to:
     8
     9   EVANS GARREY, PLLC
         D. Reid Garrey
    10   Erin M. Evans
    11   4647 N. 32nd Street, Suite B230 Phoenix, AZ
         85018 rgarrey@evansgarrey.com
    12   eevans@evansgarrey.com
         Attorneys for Plaintiffs
    13
         RAFI LAW GROUP, PLLC
    14
         Brandon B. Rafi
    15   Brandonrafi@rafilawgroup.com
         Afshin Afsharimehr
    16   Afshin@rafilawgroup.com
         2235 N. 35th Avenue, Suite 100
    17   Phoenix, AZ 85009
         Attorneys for Plaintiffs
    18
    19   EGLET ADAMS
         ROBERT T. EGLET, ESQ.
    20   Nevada Bar No. 3402
         ROBERT M. ADAMS, ESQ.
    21   Nevada Bar No. 6551
    22   400 South Seventh Street, Suite 400
         Las Vegas, Nevada 89101
    23   Email: eservice@egletlaw.com
         Telephone: (702) 450-5400
    24   Attorneys for Plaintiffs
    25   CHRISTIANSEN TRIAL LAWYERS
    26   Whitney J. Barrett, ESQ.
         710 S 7th Street, Suite B

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(
            Case 3:22-cv-08072-MHB Document 1 Filed 04/25/22 Page 8 of 8




     1   Las Vegas, Nevada 89101
         wbarret@christiansenlaw.com
     2   Attorneys for Plaintiffs Rodriguez and Gonzales
     3
     4   WINNER BOOZE & ZARCONE, LLC
         Justin J. Zarcone
     5   1117 S. Rancho Drive
         Las Vegas, Nevada 89102
     6   Nevada Attorney for Defendants
     7
         MILLER KORY ROWE LLP
     8   650 N. Third Avenue
         Phoenix, AZ 85003
     9   Attorney for Plaintiffs Mikula and Wilber
    10
    11   By:    /s/ Damian M. Zimmer

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